                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      No.:   2:09-CR-031
                                                )             2:09-CR-085
                                                )
ANDREW MONTGOMERY                               )

                           MEMORANDUM AND ORDER

        This criminal case is before the court on the defendant’s motion for sentence

reduction [2:09-CR-031, doc. 1397; 2:09-cr-085, doc. 5].          Through counsel, the

defendant asks the court to reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2) and in

accordance with Amendments 782 and 788 to the United States Sentencing Guidelines

Manual (“U.S.S.G.”). The government has responded, deferring to the court’s discretion

whether and to what extent to grant any such reduction, subject to the limitations of 18

U.S.C. § 3582(c)(2) and U.S.S.G. § 1B1.10.

I.      Authority

        “Federal courts are forbidden, as a general matter, to modify a term of

imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

exceptions.” Freeman v. United States, 564 U.S. 522, 526 (2011) (internal citation and

quotation marks omitted). One such exception is identified in 18 U.S.C. § 3582(c)(2):




     Case 2:09-cr-00031-DCLC-CRW     Document 1401        Filed 06/20/17    Page 1 of 5
                                    PageID #: 5307
       [I]n the case of a defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been
       lowered by the Sentencing Commission . . . , the court may reduce the term
       of imprisonment, after considering the factors set forth in [18 U.S.C.]
       section 3553(a) to the extent that they are applicable, if such a reduction is
       consistent with applicable policy statements issued by the Sentencing
       Commission.

       In determining whether a defendant has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission, the court must first identify “the amended guideline range that would have

been applicable to the defendant had the relevant amendment been in effect at the time of

the initial sentencing.” Dillon v. United States, 560 U.S. 817, 827 (2010) (internal

quotation marks and citation omitted); see also U.S.S.G. § 1B1.10(b)(1) (2016).

Amendment 782, which became effective on November 1, 2014, revised the guidelines

applicable to drug-trafficking offenses by reducing the offense levels assigned to the drug

and chemical quantities described in guidelines 2D1.1 and 2D1.11. See U.S.S.G. app. C,

amend. 782 (2014). Amendment 788, which also became effective on November 1,

2014, identified Amendment 782 as retroactive. See id., amend. 788.

       Other than substituting Amendment 782 for the corresponding provision

applicable when the defendant was originally sentenced, the court “shall leave all other

guideline application decisions unaffected.” See U.S.S.G. § 1B1.10(b)(1) (2016).        The

court “shall not” reduce a defendant’s term of imprisonment to a term “less than the

minimum of the amended guideline range,” nor to a term “less than the term of




                                             2


  Case 2:09-cr-00031-DCLC-CRW         Document 1401        Filed 06/20/17    Page 2 of 5
                                     PageID #: 5308
imprisonment the defendant has already served.”           Id. § 1B1.10(b)(2)(A), (C). 1      In

addition, the commentary to guideline 1B1.10 provides that a court must also consider

the § 3553(a) sentencing factors and the danger to the public created by any reduction in

a defendant’s sentence. See id. cmt. n.1(B). A court may also consider a defendant’s

post-sentencing conduct. See id.

II.    Factual Background

       By judgment dated September 19, 2011, this court sentenced the defendant to

concurrent terms of imprisonment of: 275 months as to Count One in Case Number 2:09-

CR-031 (a cocaine base conspiracy); 275 months as to Count One in Case Number 2:09-

CR-085 (a methamphetamine conspiracy); and 240 months as to Count 70 in Case

Number 2:09-CR-031 (a money laundering conspiracy). The defendant’s guideline range

was 292 to 365 months, based on a total offense level of 36 and a criminal history

category of V. For Count One of Case Number 2:09-CR-031, the statute of conviction

required a minimum sentence of 240 months.

       Prior to sentencing, the United States filed a motion for downward departure

pursuant to U.S.S.G. § 5K1.1. The court granted the motion and departed downward to

275 months, a reduction of six percent from the bottom of the guideline range.

According to the Bureau of Prisons, the defendant is presently scheduled for release on

January 20, 2029.

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          Guideline 1B1.10 provides one exception to the rule that a defendant may not receive a
sentence below the amended guideline range—namely, if the defendant originally received a
below-guideline sentence “pursuant to a government motion to reflect the defendant’s substantial
assistance to authorities.” Id. § 1B1.10(b)(2)(B).
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  Case 2:09-cr-00031-DCLC-CRW           Document 1401         Filed 06/20/17     Page 3 of 5
                                       PageID #: 5309
III.   Analysis

       Applying Amendment 782, the defendant’s new guideline range is 240 to 293

months, based on a total offense level of 34, a criminal history category of V, and the

240-month mandatory minimum. Thus, the defendant was originally sentenced to a term

of imprisonment based on a sentencing range that has subsequently been lowered by the

Sentencing Commission.

       The court has considered the filings in this case, along with the relevant 3553(a)

factors. Additionally, the court has considered the danger to the public as the result of

any reduction in the defendant’s sentence, the seriousness of the offenses, the defendant’s

post-sentencing conduct, and the need to protect the public. Having done so, the court

finds that the defendant should be granted a sentence reduction.

       The defendant’s sentence will be reduced to 240 months as requested in his

motion. The court notes that a sentence of 226 months would reflect a corresponding six

percent substantial assistance reduction from the bottom of the new guideline range.

However, the defendant remains subject to the 240-month mandatory minimum on Count

One of Case Number 2:09-CR-031. The United States filed its downward departure

motion only pursuant to U.S.S.G. § 5K1.1 (rather than 18 U.S.C. § 3553(e)), so the court

never had the authority to sentence below the mandatory minimum in this case. See

Melendez v. United States, 518 U.S. 120 (1996). As such, the court still does not have

the authority to reduce the defendant’s sentence below the mandatory minimum. See id.;

U.S.S.G. § 1B1.10(c).

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  Case 2:09-cr-00031-DCLC-CRW         Document 1401        Filed 06/20/17    Page 4 of 5
                                     PageID #: 5310
IV.    Conclusion

       For the reasons stated herein, the defendant’s motion for sentence reduction [2:09-

CR-031, doc. 1397; 2:09-cr-085, doc. 5] is GRANTED.            The defendant’s term of

imprisonment is reduced to 240 months as to each of Counts One and 70 in Case Number

2:09-CR-031, and Count One in Case Number 2:09-CR-085. These terms shall be served

concurrently for a net reduced sentence of 240 months.

       Except as provided above, all provisions of the judgment dated September 19,

2011, shall remain in effect.

              IT IS SO ORDERED.

                                                       ENTER:



                                                              s/ Leon Jordan
                                                       United States District Judge




                                            5


  Case 2:09-cr-00031-DCLC-CRW         Document 1401       Filed 06/20/17    Page 5 of 5
                                     PageID #: 5311
